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MAIL TO:
Gary Bohannon and Kendra Bohannon
3103 N. Governeour St
Wichita, KS 67226

                                       STATUTORY WARRANTY DEED
                                          (Joint tenants with right of survivorship)

Michael Capps, a single person, Granter, conveys and warrants to

Gary Bohannon and Kendra Bohanno" Grantee, as joint tenants with the rights of survivorship, and not as
tenants in common, the following described premises, to-wit:

     Lot 4, Block 2, Cottonwood Village Sixth Addition to Wichita, Sedgwick County, Kansas.

For the sum of One Dollar and other good and valuable consideration.
Subject to: easements and restrictions of record, if any.
"Granter" and "Grantee" are used for the singular or plural as context requires.

Executed to be effective as of December 14, 2023.




State of Kansas, County of Sedgwick} ss.

This instrument was acknowledged before me on December 14th, 2023 by MichaelCapps, a single person.



MyCommissionExpires:                                                           r��J,-v
                                                                                Ur                                 Notary Public
                              TAMMY HAMMAN
                               "JOTARY PUBLIC
                              STATE OF KANSAS
                             MY COMM. EXPIRES
                                 Ot1·30·2024
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